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United States Tnurt uf ?\ppeals

FCR THE DlSTRlCT OF COLUMB|A C|RCU|T

No. 18-5193 September Term, 2017
1:18-cv-00011-ABJ
Filed On: August 1, 2018
Pau| John Manafort, Jr.,

Appe||ant
v.
United States Department of Justice, et a|.,

Appe||ees

0 R D E R
Upon consideration of the stipulation of voluntary dismissa|, it is

ORDERED that the C|erk note on the docket that this case is dismissed.
No mandate Wi|| issue.

FOR THE COURT:
Mark J. Langer, C|erk

BY: /s/
Amanda Himes
Deputy C|erk

